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   Havkin & Shrago
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 3 Woodland Hills, CA 91367
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 4 Facsimile: (818) 305-6040

 5 Email: stella@havkinandshrago.com

 6
     Attorneys for Edmund Lincoln Anderson 11 Debtor and Debtor in Possession
 7

 8
                             UNITED STATES BANKRUPTCY COURT
 9
                              CENTRAL DISTRICT OF CALIFORNIA
10
                                      LOS ANGELES DIVISION
11

12
     In re                                         )
13                                                 )   Case No. 2:20-bk-11333-NB
                                                   )
14 Edmund Lincoln Anderson,                        )   Chapter 11
                                                   )
15                                                 )   REPORT OF SALE OF ESTATE
       Debtor and Debtor in Possession.            )   PROPERTY
16                                                 )
                                                   )
17                                                 )
                                                   )
18                                                 )
                                                   )
19                                                 )
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28 Report of Sale
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 1           TO THE HONORABLE NEIL W. BASON, UNITED STATES BANKRUPTCY

 2 JUDGE, OFFICE OF UNITED STATES TRUSTEE, CREDITORS, AND ALL OTHER

 3 PARTIES IN INTEREST:

 4           Debtor and Debtor in Possession Edmund Lincoln Anderson (the "Debtor") through her

 5 attorneys of record, files this Report of Sale pursuant to FRBP Rule 6004(f)(1) and LBR

 6 6004-1(g). The Debtor has sold the following property of the Estate. A true and

 7 correct copy of the escrow closing statement is attached hereto as Exhibit “1.”

 8           Asset sold: Real Property located at 6520-6522 Brynhurst Avenue, Los

 9 Angeles, California 90043.

10           Purchaser:. Dunn Development II, LLC.

11           Sale price: $957,000.

12
     Dated: January 19, 2021                   HAVKIN & SHRAGO
13

14                                             By: /s/ Stella Havkin
                                                  STELLA HAVKIN
15                                                Attorneys for Edmund Lincoln Anderson
                                                  Chapter 11 Debtor and Debtor in Possession
16

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     Report of Sale of Estate Property
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                                EXHIBIT 1
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    5950 Canoga Avenue, Suite 400, Woodland Hills, CA 91367

                                                                      Report of Sale of Estate Property
A true and correct copy of the foregoing document entitled (specify): __________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
________________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
01/20/2021          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
 ustpregion16.la.ecf@usdoj.gov Cook@SqueezeBloodFromTurnip.com amipbk@ghidottiberger.com
 havkinlaw@earthlink.net; stella@havkinandshrago.com dare.law@usdoj.gov
 ssiegel@laklawyers.com, smcfadden@laklawyers.com


                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              01/20/2021        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                       ✔ Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/20/2021         Stella Havkin                                                               /s/ Stella Havkin
 Date                        Printed Name                                                       Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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David J Cook on behalf of Attorney David J. Cook
Cook@SqueezeBloodFromTurnip.com

Stella A Havkin on behalf of Debtor Edmund Lincoln Anderson
stella@havkinandshrago.com, havkinlaw@earthlink.net;r49306@notify.bestcase.com

Kelly M Kaufmann on behalf of Creditor Deutsche Bank National Trust Company, as Trustee, in trust for
the registered holders of Morgan Stanley ABS Capital I Inc. Trust 2005-WMC1, Mortgage Pass-Through
Certificates, Series 2005-WMC1
bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com

Kelly M Kaufmann on behalf of Creditor HSBC Bank USA National Association, as Trustee on behalf of the
certificate holders of Deutsche Alt-A Securities Mortgage Loan Trust, Series 2007-OA3
bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com

Kelly M Kaufmann on behalf of Creditor The Bank of New York Mellon, f/k/a The Bank of New York, as
trustee, on behalf of the holders of the Alternative Loan Trust 2007-HY9, Mortgage Pass-Through
Certificates Series 2007-HY9
bknotice@mccarthyholthus.com, kraftery@ecf.courtdrive.com

Dare Law on behalf of U.S. Trustee United States Trustee (LA)
dare.law@usdoj.gov

Scott H Siegel on behalf of Attorney Scott Siegel
ssiegel@laklawyers.com, smcfadden@laklawyers.com

Scott H Siegel on behalf of Creditor Jacob Haiavy
ssiegel@laklawyers.com, smcfadden@laklawyers.com

United States Trustee (LA)
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AMIP Management
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Avrumie Schnitzer et.al.
David Cook Collection Attorneys, PL
165 Fell Street
San Francisco, CA 94120-2000

California Credit Union
P.O. Box 29100
Glendale, CA 91209

Colony Marina Investors, LLC
c/o Kimball, Tire & St. John LLP
1202 Kettner Blvd., Fifth Floor
San Diego, CA 92101

Deutsche Bank National Trust Compan
c/o Select Portfolio Servicing, Inc
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Salt Lake City, UT 84650-2500

FCI Lender Services, Inc.
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Irvine, CA 92618

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Agoura Hills, CA 91301

HSBC Bank, N.A.
PHH Mortgage Corporation
1 Mortgage Way - Mail Stop SV22
Blawenburg, NJ 08504

Internal Revenue Service
300 N. Los Angeles Street, MS-5027
Los Angeles, CA 90012
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Jacob and Maryam Haiavy
c/o Scott Howard Seigel, Esq.
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Sherman Oaks, CA 91403

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Los Angeles, IA 51000

National Default Servicing Corp.
7720 N. 16th Street, Sujite 300
Phoenix, AZ 85020

Peter T. Erdelyi and Associates
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6355 Topanga Canyon Blvd, Ste 255,
Woodland Hills, CA 91367

Real Time Resolutions, Inc.
1349 Empire Central Drive, Suite 15
Dallas, TX 75247-4029

Southern California Edison Company
1551 W. San Bernadino Road
Covina, CA 91722

The Bank of New York Mellon
c/o Select Portfolio Servicing, Inc
P.O. box 65250
Salt Lake City, UT 84165-0250

Two Jinn Inc.
Attn: FSD Bk SV50-4186441
Carlsbad, CA 92018

US Bank National Association
SN Servicing Corporation
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Eureka, CA 95501
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Verizon Wireless
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